
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1373-09






RONNIE DUANE MASON, Appellant



v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SEVENTH COURT OF APPEALS


POTTER COUNTY





		Meyers, J., delivered the opinion of the Court in which Price,
Keasler, Hervey, Holcomb, and Cochran, JJ., joined.  Womack, J., filed a
concurring opinion.  Keller, P.J., concurred.  Johnson, J., dissented.

 

O P I N I O N 



	Appellant, Ronnie Duane Mason, was convicted of capital murder and sentenced
to life imprisonment.  At a pretrial hearing, defense counsel requested the grand jury
testimony of Anthony Richards, Appellant's cousin.  Upon receiving the testimony more
than a year later, defense counsel saw that unauthorized persons had questioned Richards
during the grand jury proceedings.  Appellant filed a motion to quash the indictment,
which the judge overruled.  The court of appeals reversed the trial court's judgment after
concluding that the State's unauthorized questioning caused harmful error.  We granted
review to determine the proper harm analysis for reviewing the overruling of Appellant's
motion to quash.  We will reverse.

I. Facts

	On the morning of June 28, 2004, officers responded to a call that a baby was not
breathing.  The child, eight-month-old Iveyonna Durley, had been left with Appellant and
Richards when her mother went to work that day.  Upon arriving at the apartment, the
officers found Iveyonna without a pulse.  Richards explained to the officers that he
checked on the baby after hearing her scream and found that she had rolled off the bed
and had hit her head.  He said that he then called Appellant, who arrived at the apartment
with Kresha Ryan. (1)  Richards repeated this story in subsequent statements, but eventually
identified Appellant as the child's killer.  

	Richards said that Appellant hit Iveyonna with his fist two or three times while she
was on the living room couch.  At that point, Richards took the baby from the couch to
her mother's bed.  In the bedroom, Appellant kicked Iveyonna and struck her with a mop
or broom.  Then, Appellant left the apartment to pick up Kresha, and Richards brought
the baby back to the couch in the living room.  Before Appellant left, he and Richards
discussed that, if authorities questioned the state of the child, they would report that she
fell off the bed.  When Appellant and Kresha returned to the apartment five minutes later,
Iveyonna was cold and not breathing.  Kresha called 911.  The autopsy determined the
cause of death to be multiple blunt force injuries. (2)

II. Procedural history

	At a hearing over a year before the trial began, Appellant's counsel requested a
copy of the grand jury testimony to learn which of Richards's various explanations he had
presented to the grand jury. (3)  Defense counsel finally received the testimony just prior to
the commencement of voir dire.  The videotape of Richards's testimony revealed that
Sergeants Crandell and Dockery asked several questions of the witness.  Both officers had
been dispatched on the morning of Iveyonna's death.  Sergeant Crandell was one of the
officers to arrive at the apartment that morning, while Sergeant Dockery was sent to the
hospital to interview family members.  Upon learning of the officers' grand jury
participation, defense counsel filed a motion to quash the indictment, asserting that the
State had violated Articles 20.011 and 20.04 of the Code of Criminal Procedure.  Code
Crim. Proc. Ann. arts. 20.011 and 20.04.  The trial court overruled Appellant's motion,
but acknowledged that "the statute is crystal clear" and that it had been violated during
the grand jury proceedings.  The jury found Appellant guilty of capital murder, and the
court sentenced Appellant to life in prison. (4)  

III. Code of Criminal Procedure Articles 20.011 and 20.04

	Article 20.011 lists those who may be present in a grand jury room while the grand
jury is conducting proceedings:

	(1) grand jurors; 

	(2) bailiffs; 

	(3) the attorney representing the [S]tate; 

	(4) witnesses while being examined or when necessary to assist the attorney
representing the [S]tate in examining other witnesses or presenting evidence
to the grand jury;

	(5) interpreters, if necessary; and

	(6) a stenographer or person operating an electronic recording device, as
provided by Article 20.012.


Code Crim. Proc. Ann. art. 20.011.  The State concedes that it may have violated Article
20.011.  Determining whether the State in fact violated this statute hinges on whether the
presence of the officers falls under subsection (4); that is, do they qualify as "witnesses . .
. necessary to assist the attorney . . . in examining other witnesses"?  Code Crim. Proc.
Ann. art. 20.011. (5)  But a determination on this point is not necessary as we know with
certainty that the officers' questioning violated another statute, Article 20.04.

	Article 20.04 strictly defines those who may question a witness before the grand
jury:

	The attorney representing the State may examine the witnesses before the
grand jury and shall advise as to the proper mode of interrogating them.  No
person other than the attorney representing the State or a grand juror may
question a witness before the grand jury.  No person may address the grand
jury about a matter before the grand jury other than the attorney
representing the State, a witness, or the accused or suspected person or the
attorney for the accused or suspected person if approved by the State's
attorney.

 

Code Crim. Proc. Ann. art. 20.04.  The State concedes that it did violate Article 20.04.  

IV. Court of appeals

	On appeal, Appellant argued that the violations of Articles 20.011 and 20.04 were
not harmless.  The court of appeals agreed.  Mason v. State, 290 S.W.3d 498 (Tex.
App.-Amarillo 2009, pet. granted).  The court conducted a harm analysis to "determine
whether the violations of articles 20.011 and 20.04" affected the grand jury's decision to
indict Appellant. (6)  Id. at 506.  Because there was "evidence that the State's violations
likely exerted a substantial influence on the [g]rand [j]ury's decision," and because the
court could not say that the decision to indict was free from the substantial influence of
the violations, the court of appeals determined that the trial court abused its discretion in
denying Appellant's motion.  Id. at 509-10.

	In its Petition for Discretionary Review to this Court, the State argued that the
court of appeals misdirected the focus of its harm analysis by considering how the error
affected the charging decision instead of how it affected the verdict.  The State also
asserted that the court of appeals improperly assumed a supervisory role. (7)  We will
determine whether the court of appeals properly evaluated the effects of the State's error. 

V. Rule of Appellate Procedure 44.2

	Rule of Appellate Procedure 44.2 addresses the treatment of reversible error in
criminal cases.

	(a) Constitutional Error.  If the appellate record in a criminal case reveals
constitutional error that is subject to harmless error review, the court of
appeals must reverse a judgment of conviction or punishment unless the
court determines beyond a reasonable doubt that the error did not contribute
to the conviction or punishment.

	(b) Other Errors.  Any other error, defect, irregularity, or variance that does
not affect substantial rights must be disregarded.


Tex. R. App. P. 44.2.  A statutory violation at the grand jury stage is not constitutional
error, and therefore Rule 44.2(b) applies in this case.  See Bank of Nova Scotia v. United
States, 487 U.S. 250, 254-55 (1988); United States v. Mechanik, 475 U.S. 66, 71 (1986)
(When evaluating prosecutorial misconduct involving the presence of two law
enforcement agents at a grand jury proceeding, the Court applied the federal equivalent of
Rule 44.2(b), Federal Rule of Criminal Procedure 52(a).  That rule states, "Any error,
defect, irregularity, or variance that does not affect substantial rights must be
disregarded.")  

	Under Rule 44.2(b), a substantial right is affected when the error has a substantial
and injurious effect or influence.  See Taylor v. State, 268 S.W.3d 571, 592 (Tex. Crim.
App. 2008).  The issue presented in this case is what should be examined for evidence of
an effect or influence?  Should the subject of our harm analysis be the grand jury's
decision to indict or the petit jury's guilty verdict?  The court of appeals chose to direct its
attention to the product of the grand jury proceedings, while the State asserts that the
harm analysis should focus solely upon the verdict.

VI. United States v. Mechanik

	A similar issue was before the Supreme Court in Mechanik.  Mechanik, 475 U.S. at
67.  That case involved a violation of Federal Rule of Criminal Procedure 6(d), which
limits those who may be present at a grand jury proceeding.  Fed. R. Crim. P. 6(d).  The
rule allows the presence of "the witness," and so the fact that two law enforcement agents
were "sworn together and questioned in tandem" gave the defendants grounds to move
for dismissal of the indictment.  Mechanik, 475 U.S. at 67-68.     

	In the majority opinion, written by Justice Rehnquist, the verdict resolved the
issue:

	We believe that the petit jury's verdict of guilty beyond a reasonable doubt
demonstrates a fortiori that there was probable cause to charge the
defendants with the offenses for which they were convicted.  Therefore, the
convictions must stand despite the rule violation.


Id. at 67.  Missing from the majority opinion is a detailed harm analysis.  Instead of
inspecting for effects of the rule violation, the Court held that "the petit jury's verdict
rendered harmless any conceivable error in the charging decision that might have flowed
from the violation." (8)  Id. at 73.

	In her concurring opinion, Justice O'Connor directed attention to the charging
decision, instead of the verdict, stating: 

	A Rule 6(d) violation is one affecting the grand jury proceeding and is not
in any sense a trial error.  Accordingly, the logical focus of the harmless
error inquiry is an examination of the influence of the error on the charging
decision.  


Mechanik, 475 U.S. at 76 (O'Connor, J., concurring) (italics omitted).  In addition to
advocating a different focus, Justice O'Connor also presented a different analytical
approach.  In contrast to the majority's decision, which she characterized as "a per se rule
based on the ultimate verdict at trial," Justice O'Connor completed a harm analysis asking
if "the violation substantially influenced the grand jury's decision to indict, or if there
[wa]s grave doubt as to whether it had such effect."  Id. at 77-78.  After reviewing the
details of the violation and considering how the proceedings might have ended differently
had the violation not occurred, Justice O'Connor concluded, as did the majority, that the
convictions should not have been set aside.  Id. at 79.

	Later, in Bank of Nova Scotia, the Supreme Court adopted "the standard articulated
by Justice O'Connor in her concurring opinion in United States v. Mechanik" as "the
standard of prejudice that courts should apply" when "a court is asked to dismiss an
indictment prior to the conclusion of the trial" for nonconstitutional error.  Bank of Nova
Scotia, 487 U.S. at 256.  Bank of Nova Scotia endorsed Justice O'Connor's focus on the
charging decision as well as her completion of a harm analysis. 

	The prejudicial inquiry must focus on whether any violations had an effect
on the grand jury's decision to indict.  If violations did substantially
influence this decision, or if there is grave doubt that the decision to indict
was free from such substantial influence, the violations cannot be deemed
harmless.

  

Id. at 263.     

VII. Analysis

	Based upon this precedent, we agree with the court of appeals that when
addressing a grand jury statutory violation, the proper subject of a harm analysis is the
product of those proceedings: the charging decision.  We will consider whether
Appellant's substantial rights were affected by the violation and whether the unauthorized
questioning had a substantial and injurious effect or influence on the grand jury's decision
to indict.  Tex. R. App. P. 44.2(b).  If the record does not show that the violation
influenced the grand jury, or if we detect just a "slight effect," then the trial court was
correct to deny Appellant's motion to quash.  See Taylor, 268 S.W.3d at 592.  In this
analysis, we will examine the record as a whole.  Vannortrick v. State, 227 S.W.3d 706,
709 (Tex. Crim. App. 2007).

	During Anthony Richards's grand jury testimony, the State's attorney, J. Patrick
Murphy, conducted most of the questioning.  Murphy's questions covered the details of
Appellant's physical assault on Iveyonna.  The questions posed by Sergeants Dockery and
Crandell addressed further details of the assault ("At any time did you see any blood on
the baby?"), Richards's conflicting statements ("So everything you told me, pretty much,
is a lie?"), his actions on the day of Iveyonna's death ("You did change her diaper?"), and
his inaction during the events which led to her death ("Do you feel like you should have
done more to help that baby?").  Sergeant Dockery closed his participation by stating:
"All I can say is I do appreciate the fact you did come and talk to us, and I appreciate the
fact you stepped forward and talked to us.  Hopefully you are telling us the truth.  And all
I can say is good luck to you."

	After reviewing the grand jury transcript, we do not detect a substantial and
injurious effect on the grand jury's decision to indict Appellant.  The details regarding
Appellant's conduct on the date of Iveyonna's death were well established by Murphy's
(authorized) questioning, and members of the grand jury could indict Appellant without
the additional information solicited by Sergeants Dockery and Crandell.  The
unauthorized questioning served to paint a picture of Richards's role, not Appellant's. (9) 
Therefore, we cannot say that "the violation substantially influenced the grand jury's
decision to indict" Appellant, nor is there "grave doubt as to whether it had such effect." (10) 
Mechanik, 475 U.S. at 78 (O'Connor, J., concurring).

	The State's second issue to this Court asserts that the court of appeals improperly
assumed a supervisory role: "To reverse for purposes of ensuring the State's more careful
future attention to the procedural statutes is to assume an improper supervisory function." 
If the court of appeals had reversed the trial court's judgment solely for this reason, the
State's argument would be correct.  Courts may not invoke supervisory power to
prescribe "standards of prosecutorial conduct," to circumvent a harm analysis, or to
reverse a conviction after a harm analysis determines an error to be harmless.  United
States v. Williams, 504 U.S. 36, 46-47 (1992); Bank of Nova Scotia, 487 U.S. at 254-55. 
But the State's argument ignores the court of appeals's completion of a harm analysis and
its detection of the violation's effects upon the grand jury.  The court was not simply
acting to direct future conduct.  To the contrary, the court concluded that Appellant was
prejudiced by the State's actions and then proceeded, with authority, to reverse the trial
court.  Though we disagree with the results of the court of appeals's analysis, we will not
say that the court of appeals exceeded its authority.

VIII. Conclusion

	We agree with the analytical focus chosen by the court of appeals, but we do not
agree with its conclusion that the State's actions caused harmful error.  Because the error
here was not harmful, we reverse the court of appeals.

									

									Meyers, J.


Delivered: October 6, 2010

Publish
1. Richards falsely identified himself and Appellant to the responding officers.
2. As a result of Iveyonna's death, Richards was charged with injury to a child by omission.
3. The date of this hearing was July 6, 2006, but several requests were made for the grand
jury testimony over the course of approximately two years.  In June of 2005, defense counsel
filed a motion for discovery of grand jury transcripts.  Then, on August 10, 2007, defense counsel
filed a motion for disclosure and preservation of grand jury materials, followed by the motion to
quash the indictment on August 17. 
4. The State waived the death penalty, so the court automatically imposed a life sentence.
5. Statutory ambiguity makes this a difficult question to answer.  We do not know whether
"witnesses" refers only to witnesses who appear before the grand jury, or whether the term also
includes witnesses who appear later, at trial.  The distinction is critical because while we know
that Sergeants Crandell and Dockery were witnesses at trial, we do not know whether they were
also witnesses during grand jury proceedings.  It seems unlikely that Article 20.011 would refer
to trial witnesses as the witnesses permitted to assist the State's attorney during grand jury
proceedings.  Such an interpretation would mean that a person's role as a witness at trial could
retroactively render his grand jury presence "authorized."  In this case, the officers were
witnesses at trial more than two years after the grand jury proceedings; so to say that the role they
served at trial in August of 2007 authorized their presence in front of the grand jury in January of
2005 seems absurd.  If "witnesses" in this context refers exclusively to witnesses testifying
before the grand jury, and if the officers were witnesses only at trial, then the State violated
Article 20.011.  
6. The court of appeals conducted its analysis on the premise that the State had conceded
violating both statutes.  However, in its briefs to both the court of appeals and this Court, the
State admitted to violating only Article 20.04.  The State's concessions regarding Article 20.011
are more vague.  While the State may have violated Article 20.011, we cannot be certain. 
Therefore, we will refer to the State's "violation," though the court of appeals believed there had
been two statutory violations.
7. This Court granted review on the following two grounds: 

(1) The court of appeals employed an incorrect harm analysis in reviewing the State's error in
allowing unauthorized persons to question a witness before the grand jury; the focus should have
been on whether the error affected Appellant's substantial rights, rather than whether it
contributed to the grand jury's charging decision.

(2) In reversing a conviction for the avowed purpose of deterring the State's future violation of
grand jury procedural statutes, notwithstanding the harmlessness of the violation involved, the
court of appeals improperly assumed a supervisory role.
8. The majority hints that the analysis would be different "had the matter been called to [the
district court's] attention before the commencement of the trial."  Mechanik, 475 U.S. at 69-70. 
As it was, the defendants in that case did not acquire the grand jury transcript revealing the
unauthorized presence of two law enforcement agents "until the second week of trial."  Id. at 70. 
In Appellant's case, the trial court did receive notice of the problem before the trial commenced.  
9. If we were evaluating Richards's testimony as a whole, then we would most certainly
detect influence upon the jurors; but, importantly, we are exclusively concerned with the
information solicited by the officers.
10. The court of appeals relied upon the Harris factors in reaching its conclusion that the
State's violations influenced the grand jury's decision.  Harris v. State, 790 S.W.2d 568, 587-88
(Tex. Crim. App. 1989).  The factors include the source of the error and to what extent it was
emphasized by the State.  Id.  The analysis in Harris was governed by the antecedent to Rule of
Appellate Procedure 44.2(a) "Constitutional Error," former Rule of Appellate Procedure
81(b)(2); and therefore, we do not believe these factors to be helpful in Rule 44.2(b) analyses.  In
particular, the factor of "whether declaring the error harmless would encourage the State to repeat
it with impunity," is misplaced when addressing nonconstitutional error under Rule 44.2(b).  Id. 
We acknowledge that the court of appeals is not alone in believing Harris to be useful in 44.2(b)
harm analyses.  See Smith v. State, 36 S.W.3d 134 (Tex. App.-Houston [14th Dist.] 2000, pet.
ref'd).  And, at times, this Court has invoked select factors from Harris in our 44.2(b) harm
analyses.  See Motilla v. State, 78 S.W.3d 352, 356-57 (Tex. Crim. App. 2002) (endorsing the
State's emphasis of the error as a factor and stating that "our conclusion in Harris, that
overwhelming evidence of guilt is a factor to be considered" applies in Rule 44.2(b) analyses");
King v. State, 953 S.W.2d 266, 272 (Tex. Crim. App. 1997) (that the State did not emphasize the
error supported our conclusion that the appellant's substantial rights were not affected under Rule
44.2(b)).  Though the Harris factors might still be applicable in Rule 44.2(a) analyses, they are
unnecessarily limiting when we are to consider the record as a whole.  Vannortrick, 227 S.W.3d
at 709.


